                                                By United States Marshals Service at 2:22 pm, Sep 18, 2024
   AO 442 (Rev. 11/11) Arrest Warrant


                                                UNITED STATES DISTRICT COURT
                                                                         for the              FID: 6751746
                                                                 District of Alaska           USMS: 11667-006
                                                                                              Warrant: 2406-0918-0595-J
                                                                                              NCIC: Not entered by USMS
                       UNITED STATES OF AMERICA                             )
Warrant




                                                                            )          Case Number: 3:24-CR-00099-SLG-KFR
                                          vs.                               )
                                                                            )
                            PANOS ANASTASIOU                                )
                                Defendant

                               LAW ENFORCEMENT SENSITIVE ARREST WARRANT
      To: Any authorized law enforcement officer

      YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
      (name of person to be arrested) PANOS ANASTASIOU                                                                              ,
      who is accused of an offense or violation based on the following document filed with the court:

      ☒ Indictment            ☐ Superseding Indictment               ☐ Information         ☐ Superseding Information        ☐Complaint
      ☐ Probation Petition              ☐ Supervised Release Petition              ☐Pretrial Petition        ☐ Order of the Court

          This offense is briefly described as follows:
             Counts 1, 8, 10, 10, 14, 16, 18, 20, 22: Threats against Federal Judge

             Counts 2-7, 9, 11, 13, 15, 17, 19, 21: Threats in Interstate Commerce


          Date: September 18, 2024                                                             Caroline Edmiston
                                                                                            Issuing officer’s signature

          City and state: Anchorage, Alaska                                            Candice M. Duncan, Clerk of Court
                                                                                             Printed name and title
                                                                        Return

          This warrant was received on (date) 09/18/2024                   , and the person was arrested on (date) 09/18/2024

          at (city and state) Anchorage, AK                                        .

          Date: 09/18/2024                                                                    for SA Z. Crews(USSC)
                                                                                           Arresting officer’s signature

                                                                                        G. Adrien(USMS) forZ. Crews(USSC)
                                                                                              Printed name and title

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